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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, EX REL.
MARK J. O’CONNOR and SARA F.
LEIBMAN,

           Plaintiffs,

v.                                    Case No. 20-CV-2070-TSC

UNITED STATES CELLULAR                ORAL ARGUMENT REQUESTED
CORPORATION, USCC WIRELESS
INVESTMENT, INC., TELEPHONE AND
DATA SYSTEMS, INC., KING STREET
WIRELESS, L.P., KING STREET INC.,
ADVANTAGE SPECTRIUM, L.P.,
FREQUENCY ADVANTAGE, L.P.,
SUNSHINE SPECTRUM, INC.,
NONESUCH, INC., and ALLISON CRYOR
DINARDO,

           Defendants.



        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      MOTION TO DISMISS OF DEFENDANTS KING STREET WIRELESS, L.P.,
        KING STREET WIRELESS, INC., AND ALLISON CRYOR DINARDO
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                                    I.   INTRODUCTION

       For the second time, Relators try to assert False Claims Act allegations against a wide range

of defendants based on $113 million in bidding credits that the FCC awarded to a very small

business named Advantage Spectrum, L.P. (“Advantage”). In March 2022, this Court dismissed

this action because the “public disclosure bar” expressly prohibits FCA suits that free ride off

publicly-available information, and, as this Court observed, the complaint’s core allegations were

all contained in “Advantage’s public FCC filings.” Dkt. No. 170 (“Mem. Op.”) at 10.

       This Court gave Relators leave to amend based on their representation that they could assert

new facts to overcome the public disclosure bar. Mem. Op. at 13, 14. Regrettably, Relators have

completely abused this Court’s leave.       Instead of providing well-pled facts that add new

information, the Amended Complaint resorts to artifice. Relators rely on the exact same publicly-

available information, but they have deleted all of the citations and references to the public FCC

filings that were in the original complaint. This gambit—well known to courts in the False

Claims Act space—compels dismissal because it is no substitute for legitimate amendment.

Deleting cites to FCC public disclosures cannot evade the public disclosure bar.

       Relators also incorporate allegations from the parallel case pending in this Court, which

Relators have already had multiple opportunities to amend. See 2d Am. Compl., United States ex

rel. O’Connor v. U.S. Cellular Corp., 20-cv-2071-TSC (D.D.C. June 2, 2020) (“O’Connor II”),

D.E. 118 (“SAC”). Relators’ strategy with respect to these “imported” allegations from O’Connor

II is the same. Relators assert that the Defendants entered into “secret” agreements, while deleting

reference to all the FCC materials they previously cited where these supposed “secret”

arrangements were disclosed to the FCC. Relators cannot overcome the public disclosure bar by

deleting cites to public sources and adding the word “secret” or “secretly” sixteen times in the




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Amended Complaint.       Relators have tried to obfuscate their complete reliance on public

information. But the public disclosures have not changed since the original complaint—and they

foreclose Relators’ claims. As demonstrated below, few cases warrant application of the public

disclosure bar more than this one.

       The Amended Complaint’s defects do not end there. After years of gratuitously dragging

an individual and her small business through the mud, Relators still do not and cannot allege that

the King Street Defendants (Allison Cryor DiNardo, King Street Wireless, Inc., and King Street

Wireless, L.P.)—who received no licenses and no bidding credits in Auction 97, which is the only

auction at issue here—“submitted” or “caused to be submitted” any claims for payment or other

false statements to the government. This abject failure to plead “presentment”—as well as the

rigorous scienter and materiality elements of the False Claims Act—doom the Amended

Complaint. These defects would be fatal even if the public disclosure bar did not exist.

       This Court exercised its discretion to grant Relators leave to amend, and Relators abused

that process. Relators have added nothing new of substance, and their Amended Complaint, like

the original complaint, remains legally defective to its core. This Court should dismiss—this time

with prejudice.

                                     II.   BACKGROUND

       A.      Congress Mandated That The FCC Enable Small Businesses To Participate
               And Compete In Spectrum Auctions.

       When Congress authorized the FCC to assign radio spectrum by auction, it was concerned

that all of the licenses would end up exclusively in the hands of large incumbents. To address this

concern, Congress charged the FCC with ensuring that small businesses and businesses owned by

women and minorities could meaningfully participate in auctions for electromagnetic spectrum in

the United States. See 47 U.S.C. §§ 309(j)(3)(B), 309(j)(4)(C)–(D); Dkt. No. 174 (“Am. Compl.”)



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¶¶ 32–33. To this end, the FCC provides certain small businesses, women-owned businesses, and

other designated entities (“DEs”) with “bidding credits.” See 47 C.F.R. § 1.2110(f). As the FCC

has acknowledged, this approach recognizes “the difficulties that small businesses . . . confront in

today’s marketplace, including raising capital to compete in an auction, securing the far greater

financial resources necessary to support the construction and operation of a wireless broadband

network, and developing a successful business model based on current market structures and

consumer needs.” In the Matter of Updating Part 1 Competitive Bidding Rules, Third Report &

Order, 30 FCC Rcd. 7493, 7495 (¶ 5) (July 21, 2015).

       Before awarding bidding credits, the FCC “closely examines the totality of the facts and

circumstances of each case to ensure that the applicant is truly a small business unaffiliated with

or controlled by entities that do not qualify as such.” In the Matter of Northstar Wireless, LLC, 30

FCC Rcd. 8887, 8889 (Aug. 18, 2015). As part of that examination, FCC requires bidders to

submit detailed, voluminous information on both Short-Form (pre-auction) and Long-Form (post-

auction) applications concerning their business relationships and other factors affecting their DE

eligibility. See Am. Compl. ¶¶ 47, 50; see also 47 C.F.R. § 1.2110(b)(1)(i). The FCC also imposes

additional post-licensing requirements to ensure DEs maintain their eligibility. See Am. Compl.

¶ 56 (citing 47 C.F.R. § 1.2110(n)). The required submissions include a list and summary of all

agreements affecting the applicant’s eligibility as a DE. See 47 C.F.R. § 1.2112(b)(1)(iii). Many

applicants, including Advantage here, satisfy this requirement by submitting complete copies of

the relevant agreements. See generally FCC ULS File No. 0006668843.         All aspects of the

examination process are public, as are all DE submissions to the FCC. See FCC, Universal

Licensing System, https://wireless2.fcc.gov/UlsApp/ApplicationSearch/searchAppl.jsp.

       Advantage requested and received DE eligibility as a “very small business.” See 47 C.F.R.




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§§ 1.2110(b)–(c), 1.2111(d)(1) (2012); see also Mem. Op. at 2 & n.1 (relying “on the regulation

as it existed in 2014”). The FCC determines whether an applicant qualifies as a small business by

aggregating its gross revenues with those of its “affiliates, its controlling interests, the affiliates of

its controlling interests, and the entities with which it ha[d] an attributable material relationship.”

47 C.F.R. § 1.2110(b)(1)(i) (2012). If the aggregated revenues exceeded $40 million, then the

entity would be ineligible for DE status. See 47 C.F.R. § 1.2110(f)(2)(i)–(iii) (2012).1

        In fulfilling its mandate to ensure that small businesses could participate and compete in

spectrum auctions, the FCC crafted its DE rules to both allow DEs “flexibility to engage in

business ventures” while also maintaining “the ability to attract capital investment, even from large

providers.”    Updating Part 1, 30 FCC Rcd. at 7504 (¶ 22) (emphasis added); see also

Implementation of Sec. 309(j) of the Communications Act – Competitive Bidding, Fifth Report &

Order, 9 FCC Rcd. 5532, ¶ 15 (July 15, 1994) (recognizing that DEs require access to capital that

larger companies provide, and “encourag[ing] large companies to invest in designated entities”).

This Court previously recognized large telecommunication providers play an important role in the

DE program. See Mem. Op. at 3 (“[T]he FCC seeks to promote economic opportunity for DE

owners, especially those owned by minorities or women—by encouraging large companies to

invest in DEs to avail themselves of their licensed spectrum.”) (citing Implementation of Sec.

309(j), 9 FCC Rcd. at ¶ 15). The Court also observed that spectrum auction bids are expensive—

often prohibitively so for any stand-alone individual or small businesses. See Mem. Op. at 2 (citing

Press Release, FCC, FCC Concludes Largest Ever Spectrum Auction (Mar. 12, 2020),

https://www.fcc.gov/document/fcc-concludes-largest-ever-spectrum-auction).



1
 On July 21, 2015, the FCC amended its aggregation rules but applied those amendments only
prospectively. Because Advantage filed its Long-Form Application on February 12, 2015, those
amendments do not apply to Advantage’s participation in Auction 97.


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       B.      Advantage Spectrum Received Designated Entity Bidding Credits For
               Auction 97.

       Advantage was a DE formed in August 2014 as a Delaware limited partnership between

general partner Frequency Advantage, L.P. (“Frequency”), and limited partner USCC Wireless

Investment, Inc. (“USCCWI”), a subsidiary of United States Cellular Corporation (“U.S.

Cellular”). Frequency was comprised of general partner Sunshine Spectrum, Inc. (“Sunshine”),

and limited partner Nonesuch, Inc. (“Nonesuch”). William Vail was the sole owner of Sunshine,

which owned 51% of Frequency. Ms. DiNardo was the sole owner of Nonesuch, which owned

49% of Frequency. Thus, Ms. DiNardo (through Nonesuch) had only a minority, non-controlling,

limited partnership interest in Frequency, and thus non-controlling interest in Advantage. The

diagram that follows illustrates these relationships.2 Significantly, Relators do not dispute this

structure or the ownership percentages. See Am. Compl. ¶¶ 12–19.



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2
  This diagram is reproduced without alteration (except the highlighting) from an ownership
disclosure Advantage publicly filed with the FCC on February 12, 2015. See FCC File No.
0006668827, https://wireless2.fcc.gov/UlsEntry/attachments/attachmentViewRD.jsp?applType=
search&fileKey=4131621&attachmentKey=19598670&attachmentInd=applAttach.


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       As this ownership structure makes clear, King Street Wireless, Inc. and King Street

Wireless, L.P. were never investors nor partners in Advantage. They never held any ownership

interest in Advantage. See Am. Compl. ¶ 19. Moreover, in a transaction that closed on December

31, 2015, before the FCC granted spectrum licenses to Advantage, Mr. Vail purchased the entirety

of Ms. DiNardo’s indirect, minority interest in Advantage. See id. ¶ 20. After that date, Ms.

DiNardo had no ownership of or involvement with Advantage—either directly or indirectly. That

transaction was publicly disclosed in February 2016. See Stock Purchase Agreement, FCC ULS

File No. 0006668843 (Feb. 7, 2016) (attached as Declaration of Brian Liegel (“Liegel Decl.”), Ex.

A); see also Amendment to Long-Form Application, Ex. D, FCC ULS File No. 0006668843 (Feb.

7, 2016), at 6 (noting Mr. Vail is the 100% owner of both Sunshine and Nonesuch, and prior to

December 31, 2015, Ms. DiNardo was the owner of Nonesuch) (attached as Liegel Decl., Ex. B).3


3
  “In considering a Rule 12(b)(6) challenge, a court is generally limited to consideration of the
facts alleged in the complaint, any documents attached to or incorporated in the complaint, matters


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       Auction 97—the only auction at issue in the Amended Complaint—ran from November

13, 2014 to January 29, 2015. Am. Compl. ¶ 85. Advantage won 124 licenses in Auction 97 and

obtained DE bidding credits for which Advantage allegedly was not eligible. See id. ¶ 3, 95.

However, Relators do not allege that either Ms. DiNardo or any other King Street Defendant

received any licenses, received any bidding credits, or was a signatory to any of the allegedly false

and fraudulent submissions to the FCC. See, e.g., id. ¶¶ 78–80 (Short-Form Application); 84, 96–

102, 106–11 (Long-Form Application and amendments); 112–117 (DE Annual Reports); 126–28

(lease notifications); 129 (construction notices).

       Relators filed this FCA case in May 2015, see ECF No. 2, shortly after Auction 97. The

government did not grant any licenses to Advantage until July 5, 2016—after the original

complaint was filed, and more than six months after Ms. DiNardo divested her ownership interest

in Advantage. See generally FCC Applic. File No. 0006457325; FCC ULS File No. 0006668843.

Advantage amended its Long-Form Application six times between Ms. DiNardo’s departure and

the granting of the licenses, and Ms. DiNardo is not alleged to have played any role in these

amendments. See generally FCC ULS File No. 0006668843. In November 2019, the Department

of Justice declined to intervene in this case, ECF No. 43, just as it did in O’Connor II—the related

case pending before this Court, Case No. 20-2071, ECF No. 47.

       Relators voluntarily dismissed Mr. Vail—the control person in Advantage—from this case



of which a court may take judicial notice, and matters of public record.” Burnside v. Dep’t of
Justice, 20-cv-2309 (TSC), 2022 WL 715181, at *3 (D.D.C. Mar. 10, 2022) (Chutkan, J.) (citing
EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 624 (D.C. Cir. 1997)); see also, e.g.,
Baker v. Henderson, 150 F. Supp. 2d 13, 15 (D.D.C. 2001) (“[T]he court may take judicial notice
of matters of a general public nature, such as court records, without converting the motion to
dismiss into one for summary judgment.”). In addition, “[c]ourts may consider ‘documents upon
which the plaintiff's complaint necessarily relies even if the document is produced not by the
plaintiff in the complaint but by the defendant in a motion to dismiss.’” Burnside, 2022 WL
715181 at *4 (quoting Pearson v. District of Columbia, 644 F. Supp. 2d 23, 29 n.1 (D.D.C. 2009)).


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on March 25, 2020. See ECF Nos. 59, 85.

        C.      This Court Dismissed The Complaint Based On The Public Disclosure Bar.

        On March 31, 2022, this Court granted Defendants’ motions to dismiss based on the public

disclosure bar. The Court did so because Relators’ allegations that “U.S. Cellular directly and

indirectly controls Advantage” were “substantially similar to what ha[d] already been publicly

disclosed” in public filings to the FCC. Mem. Op. at 8, 13. These filings “would have given the

Government sufficient notice to adequately investigate the case and to make a decision whether to

prosecute.” Id. at 10. The Court also rejected Relators’ attempt to evade the public disclosure bar

through allegations that they discovered the alleged misconduct through their own “surveillance

and private investigations.” Id. at 8. Even “[c]onstruing Plaintiff-Relators’ claims as true, their

surveillance and private investigation” merely “add[ed] information to that contained in the public

FCC filings” and did not grant them “original source” status. Id. at 10–11.

        However, based on Relators’ representations that they could provide “more information

showing ‘in great detail’ the degree to which U.S. Cellular actually controlled Advantage through

King Street, L.P.,” the Court granted Relators leave to amend. Id. at 13. Relators filed the

Amended Complaint on April 29, 2022.

                                 III.    LEGAL STANDARD

        The Amended Complaint can survive a motion to dismiss only if it alleges “sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

It is axiomatic that on a Rule 12(b)(6) motion, conclusory assertions and labels unsupported by

factual allegations are “not entitled to be assumed true.” Id. at 681 (citing Twombly, 550 U.S. at

554–55); id. at 681 (the “conclusory nature of [a plaintiff’s] allegations . . . disentitles them to the

presumption of truth.”). Moreover, the Amended Complaint must satisfy Rule 9(b)’s high


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pleading standard, which requires it to “state with particularity the circumstances constituting fraud

or mistake” and set forth “in sufficient detail the time, place, and manner” of the alleged “scheme

to defraud the government.” United States ex rel. Staggers v. Medtronic, Inc., 15-cv-392 (TSC),

2019 WL 13132849, at *1 (D.D.C. Mar. 25, 2019) (Chutkan, J.) (citations omitted). This standard,

“requires particularity as to who, what, where, and when” the alleged fraud took place. Id.

(alterations adopted, citation omitted).

                                     IV.     ARGUMENT

       A.      Relators’ Claims Are Precluded By The FCA’s Public Disclosure Bar.

       This Court previously held that Relators’ core allegation “that U.S. Cellular controls

Advantage” was precluded by the FCA’s public disclosure bar. Mem. Op. at 8. The Amended

Complaint makes the very same core allegation and this Court’s prior decision applies with equal

force here.

       The public disclosure bar applies to “allegations or transactions that are substantially

similar to those in the public domain.” Mem. Op. at 7. The key question is whether “the

government already had enough information to investigate the case and to make a decision whether

to prosecute or [whether] the information could at least have alerted law-enforcement authorities

to the likelihood of wrongdoing.” Id. (quoting United States ex rel. Davis v. Dist. of Columbia,

679 F.3d 832, 836 (D.C. Cir. 2012)). The public disclosure bar is often expressed algebraically:

“If an allegation of fraud (Z) requires both a misrepresented state of facts (X) and a true state of

facts (Y), such that X + Y = Z, then the public disclosure bar applies if both X and Y are in the

public domain and would alert the government to ‘the likelihood of wrongdoing.’” Id. at 8 (quoting

United States ex rel. Shea v. Cellco P’ship, 863 F.3d 923, 933 (D.C. Cir. 2017)). The public

disclosure bar can be overcome only in very narrow circumstances—as relevant here, when a

relator is an “original source” because he or she has knowledge that is “independent of and


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materially adds to the publicly disclosed allegations or transactions.” 31 U.S.C. § 3730(e)(4)(B).

       As this Court explained in dismissing the original complaint, Relators tried to support their

allegation that “U.S. Cellular controls Advantage” through three categories of evidence:

              “Advantage’s Auction 97 FCC Filings”;

              “[S]urveillence and private investigations of Advantage’s and King Street L.P.’s
               office and employees;” and

              ”[E]vidence shown in detail in a separate case before this court [Case No. 20-2071,
               O’Connor II]”

Mem. Op. at 8 (citations and quotations omitted). The Court concluded it could not consider the

allegations from O’Connor II, and that the other allegations were publicly available and did not

grant Relators “original source” status. Id. at 13.

       In the Amended Complaint, nothing has changed: Relators make the same core allegation

that “U.S. Cellular . . . controlled Advantage and its licensed spectrum.” Am. Compl. ¶ 6. Relators

rely on the same public FCC filings and the same “surveillance” this Court already considered in

its prior dismissal. And while Relators have added some allegations from O’Connor II, the “X”

and the “Y” of each of those allegations were publicly available, and do not materially add to the

“X” and “Y” of this case. This Court’s prior decision—and its straightforward application of the

public disclosure bar—mandates dismissal.

               1.      The Amended Complaint’s Essential Allegations Are Drawn From
                       Public FCC Filings.

       The Court dismissed Relators’ original complaint because Relators’ claims rested on

“substantially the same allegations or transactions” as those disclosed in six public FCC filings

that the original complaint “rel[ied] on”: “(1) the Frequency partnership agreement between

DiNardo and Vail [the Frequency LP Agreement]; (2) the Advantage partnership agreement

between Frequency and U.S. Cellular [the Advantage LP Agreement]; (3) the Bidding Protocol



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[Agreement] defining how Advantage would bid during Auction 97; (4) the Frequency and (5)

Advantage Loan and Security Agreements governing U.S. Cellular’s extension of credit for

Frequency; and (6) U.S. Cellular’s 2014 annual report to shareholders describing its participation

in Auction 97 through its financial interest in Advantage.” Mem. Op. at 9, 11 (internal quotations

and citations omitted).

       Relators’ “amendments” deleted citations and references to these same public filings while

nonetheless making allegations based entirely on the information in them. For example, the

Amended Complaint asserts that “Advantage’s bidding strategy in FCC Auction 97 was controlled

and directed by U.S. Cellular and DiNardo.” Am. Compl. ¶ 86. The original complaint alleged

that “the terms of the Biding Protocol Agreement”—a publicly available FCC filing—“required

Vail to concede all control over Advantage’s bidding to DiNardo and U.S. Cellular.” Dkt No. 2

(“Compl.”) ¶ 58. The only thing that is “new” is that Relators deleted the reference to the “Bidding

Protocol Agreement”—but their allegation is still drawn from that publicly-available document.

       Rather than provide “more information . . . ‘in great detail’” as promised, Mem. Op. at 13,

Relators attempt to evade the public disclosure bar through obfuscation. The Amended Complaint

uses this same trick pervasively. The table that follows demonstrates this by comparing the

allegations in the Amended Complaint to those in the original complaint.4 It shows that the

Amended Complaint contains the same allegations as the original complaint and that the only

meaningful differences are the deletions to the public FCC filings in the original complaint—

namely, the Frequency LP Agreement, Advantage LP Agreement, and Bidding Protocol

Agreement (highlighted below):



4
 A district court may “[c]ompar[e] the amended complaint with the original complaint” when
deciding a motion to dismiss. W. Assocs. Ltd. P’ship ex rel. Ave. Assocs. Ltd. P’ship v. Mkt. Square
Assocs., 235 F.3d 629, 634 (D.C. Cir. 2001).


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   Core Allegation               Amended Complaint                    Original Complaint

                            “Advantage’s bidding strategy in    “[T]he terms of the Bidding
                            FCC Auction 97 was controlled       Protocol Agreement required
                            and directed by U.S. Cellular       Vail to concede all control over
DE did not make             and DiNardo, as U.S. Cellular’s     Advantage’s bidding to DiNardo
independent bidding         proxy, solely for U.S. Cellular’s   and U.S. Cellular.” ¶ 58.
decisions.                  benefit, and was designed solely
                            to add to or expand U.S.
                            Cellular’s existing spectrum.”
                            ¶ 86

                            “Virtually all of the licenses      “Exhibit A of the Bidding
                            Advantage won were identified       Protocol Agreement effectively
                            and selected by U.S.                prevented Vail from bidding on
                            Cellular/DiNardo, and were in       any licenses other than those
                            markets that were either adjacent   licenses that would be useful for
                            to or overlapping with U.S.         U.S. Cellular.” ¶ 59.
DE won spectrum             Cellular wireless service areas.”
licenses for solely for a   ¶ 94.                               “Indeed, the Bidding Protocol
larger carrier’s benefit.                                       Agreement does not permit Vail
                                                                to bid on any licenses that are not
                                                                useful to U.S. Cellular’s
                                                                operations; he is bound to bid
                                                                only on licenses that have
                                                                strategic importance to U.S.
                                                                Cellular.” ¶ 80.

                            “Relators’ independent              “[A]ccording to the Bidding
                            observation during the auction      Protocol Agreement (¶ 2),
                            and contemporaneous                 Dinardo is one of three members
                            investigation revealed that,        of the “Bidding Council,” which
                            during the auction, DiNardo and     also includes a U.S. Cellular
U.S. Cellular               one or more U.S. Cellular/TDS       representative and Vail.” ¶ 58.
                            senior employees were present
employees were
                            for and participated in the         “[B]oth DiNardo and an
present for the bidding
                            bidding decisions.” ¶ 92.           executive from U.S. Cellular
decisions.                                                      were physically present during
                                                                Vail’s bidding . . . The
                                                                Frequency Limited
                                                                Partnership Agreement
                                                                confirms Relators’ evidence
                                                                . . . .’” ¶ 60.




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    Core Allegation               Amended Complaint                      Original Complaint

                             “Advantage’s purported place of      “The [Frequency] Limited
                             business at the time of [Auction     Partnership agreement between
                             97] . . . was vacant without any     Sunshine (Vail) and Nonesuch
 DE’s business address       furniture or signage to indicate     (DiNardo) forming Frequency,
 was vacant during the       there was a business operating       moreover, confirms that
 FCC Auction.                from or within the office.” ¶ 87     Defendants’ plan was to use the
                                                                  King Street headquarters to
                                                                  conduct bidding for Auction 97.”
                                                                  ¶ 65.

                             “Although planning and               “Section 5.4(a) of the
                             providing service for those areas    Advantage LP Agreement
                             and population [covered by the       provides that only one executive
                             Auction 97 leases] would require     is expected to run Advantage
                             a great deal of effort, Advantage    prior to launch of commercial
 DE had no other             has never had any employees,         service, including during the
 employees or                other than William Vail.” ¶ 118.     build-out period of the wireless
 management.                                                      networks, and that executive is
                             “There is no management              expected to work no more than
                             committee, there are no senior       one-half of his/her time to run
                             executives, and Advantage            the company.” ¶ 75.
                             makes no management decisions
                             regarding its licenses.” ¶ 119.

                             “U.S. Cellular controlled the        “Other provisions of the
                             construction of the networks, use    Advantage LP Agreement
                             of Advantage’s licensed              effectively cabin Vail’s ability to
 DE lacked independent
                             spectrum, and use of the             make decisions concerning the
 control of the spectrum
                             networks for its own customers.”     construction of the AWS
 it acquired.
                             ¶ 133                                networks or to alter those plans
                                                                  without U.S. Cellular’s consent.”
                                                                  ¶ 77


       The public disclosure bar cannot be defeated so inelegantly. Indeed, this approach is not

new—several relators have tried it, and courts routinely reject it as a legally invalid (and potentially

bad faith) gambit. A recent decision in this District is instructive. See United States ex rel. Scott

v. Pac. Architects and Eng’rs, Inc., 13-cv-1844 (CKK), 2020 WL 224504 (D.D.C. Jan. 15, 2020).

In that FCA case, the relators amended their complaint and “deleted most of [relators’] direct

references to [a] State Department audit.” Id. at *6. The Court looked beyond that cosmetic


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change to evaluate whether the substance of the allegations were in the public domain. The Court

held the public disclosure bar still precluded the relators’ claims because the core “allegations in

[r]elators’ action [we]re substantially similar to allegations that were already publicly disclosed

[in the government’s audit].” Id.

       Even more recently, on the opposite end of the country, a district court admonished relators

in a nearly identical situation. See United States ex rel. Jones v. Sutter Health, 18-cv-02067-LHK,

2021 WL 3665939 at *10 (N.D. Cal. Aug. 18, 2021). The district court dismissed the original

complaint because it derived its core allegations from publicly-available documents—namely, “the

Centers for Medicare and Medicaid Services’ response to [relators] FOIA request.” Id. The

district court granted relators leave to amend, but the amendments “simply removed the references

to the . . . FOIA request”—even though the core factual allegations were the same. Id. The district

court therefore dismissed the case again—this time with prejudice—recognizing that relator’s

actions “may reflect bad faith . . . because [the] [r]elator may be trying to circumvent the dismissal

of her lawsuit on lawful grounds” by merely deleting the prior citations to public documents. Id.

       These sound decisions from coast to coast demonstrate that this Court should not endorse

Relators’ maneuvering. Because Relators’ material allegations about how the Defendants violated

the False Claims Act are still drawn from public FCC filings, dismissal is required. See Mem. Op.

at 9–11.

               2.      Relators’ Surveillance And Private Investigation Are Substantially
                       The Same As The Public FCC Filings.

       This Court previously held that the “surveillance information” touted by Relators failed to

“provide enough information to make the entire body of evidence in a claim not ‘substantially the

same’ as what has already been publicly disclosed.” Mem. Op. at 10. This Court also specifically

rejected Relators’ allegations that “(1) a U.S. Cellular executive was present at the Auction 97



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bidding; (2) Advantage conducted this bidding from King Street’s Virginia offices; (3) one of

Advantage’s designated bidders—Stephen Hinz—was a King Street employee; (4) Advantage’s

Florida offices were unused; and (5) Advantage and King Street shared a lawyer.” Id. at 10–11

(internal citations omitted). The Amended Complaint simply re-alleges these same surveillance

efforts—namely, that (1) “one of more U.S. Cellular/TDS senior employees were present for and

participated in the bidding decisions,” Am. Compl. ¶ 92; (2) “Advantage’s Auction 97 bidding

was conducted from DiNardo’s offices [in Alexandria, Virginia],” id. ¶ 89; (3) “Hinz . . . was

employed by King Street Wireless/DiNardo,” id. ¶ 91; and (4) Advantage’s Florida office was

“vacant without any furniture or signage” during Auction 97, id. ¶ 87. Yet again, Relators’

attempts to repackage and reorganize their allegations cannot avoid the public disclosure bar.5

         Relators say they have offered “new” information that supposedly flows from their

“surveillance efforts,” but in actuality the Amended Complaint contains nothing new or

substantive. For example, Relators allege that Advantage has listed “Vail’s home address” as one

of its business addresses, and that Advantage “does not appear to have a business phone,” id. ¶¶

120–21. But this allegation is substantially the same as the allegation in the original complaint

that Advantage’s office was vacant and had never been used, which “fails” to overcome the public

disclosure bar. Mem. Op. at 10. Relators cannot evade the public disclosure bar by asserting their

“surveillance efforts” uncovered information that was publicly-available. Relators also allege,

confusingly and incorrectly, that a 76-license spectrum manager lease is “further evidence” that

U.S. Cellular controls Advantage through “undisclosed agreements and understandings.” Am.

Compl. ¶ 126, 131. But as Relators’ own Exhibit 15 to the Amended Complaint demonstrates,

U.S. Cellular specifically disclosed to the FCC that it entered into that agreement with Advantage



5
    The Amended Complaint does not re-allege that Advantage and King Street shared a lawyer.


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“to improve and enhance its voice and data service offerings.” Am. Compl., Ex. 15 at 2. Relators’

own exhibits negate any claim of a “secret” lease agreement.

       Relators also bizarrely assert that the 76-license lease was described “falsely and

fraudulently.” Am. Compl. ¶ 126. Relators seem to posit that, in order for U.S. Cellular to provide

the service it offered, it “must” have leased more spectrum from Advantage than the lease

disclosed. Relators say they have “independently verified that . . . [U.S. Cellular] must control

both the downlink and the uplink spectrum, or at least 10 MHz, rather than the 5 MHz purportedly

leased to U.S. Cellular under the 76-license Spectrum Manager Lease.” Id. ¶ 131. Relators’ ignore

the reality that the 5 MHz of leased spectrum would be used to supplement existing U.S. Cellular

spectrum and not to establish stand-alone operations.

       This supplementation is all expressly set out in public disclosures. The FCC expressly

permits the creation of “two-way service” “whereby [one licensed band] could be used for a

‘downstream’ path, and the ‘upstream’ (or return) path could be located outside of the [licensed]

band in other available spectrum.” Mem. Op. and Order and Second Report and Order, 17 FCC

Rcd. 9614, 9668, ¶ 137 (May 23, 2002); see also In the Matter of Amendment of the Comm’n Rules

with Regard to Comm. Operations in the 1695-1710 MHz, 1755-1780 MHz, and 2155-2180 MHz

Bands, 29 FCC Rcd. 4610, 4625 (¶ 29) (Mar. 31, 2014) (“[N]o regulation would prohibit licensees

from pairing this uplink band with another present or future licensed downlink band.”). Relators

admit that Advantage’s licenses “were in markets that were either adjacent to or overlapping with

U.S. Cellular wireless service areas.” Am. Compl. ¶ 94. This overlap was also publicly disclosed

in both the exhibits attached to the Amended Complaint, as well as in Defendants’ FCC and SEC

filings. See Am. Compl., Ex. 15 at 2 (leases will allow U.S. Cellular to “improve and enhance” its

own, pre-existing service); id. at 3 (“In a number of Advantage license areas, [U.S. Cellular]




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already provides wireless services . . . .”); Bidding Protocol Agreement, Ex. A, FCC File No.

0006668843 (Mar. 20, 2015) (prioritizing markets overlapping with U.S. Cellular’s service areas)

(attached as Liegel Decl., Ex. C); U.S. Cellular, Current Report (Form 8-K) (Feb. 2, 2015) (“The

licenses expected to be awarded to Advantage Spectrum primarily cover areas that overlap or are

proximate or contiguous to areas covered by licenses that U.S. Cellular currently owns, operates

and/or consolidates.”) (attached as Liegel Decl., Ex. D).

       Notably, Relators never allege that U.S. Cellular did not—as it told the FCC—create two-

way service by pairing a “downlink” band using 5 MHz Advantage leased spectrum with an

“uplink” band using U.S. Cellular’s own, overlapping spectrum. And Relators cannot survive a

motion to dismiss simply by categorizing a publicly disclosed lease as “secret” or “fraudulent”

with no facts at all to support that conclusion. See Iqbal, 556 U.S. at 678 (“A pleading that offers

‘labels and conclusions’ or a ‘formulaic recitation of the elements of a cause of action will not

do.’”) (quoting Twombly, 550 U.S. at 555). Thus, the “conclusory nature of [Relators’] allegations

. . . disentitles them to the presumption of truth. Id. at 681. Relators cannot survive a motion to

dismiss based on the totally unsupported ipse dixit that a document is fraudulent.

       Moreover, the FCC was well aware that U.S. Cellular was actively using the licenses of

partner DEs. See Promoting Interoperability in the 700 Mhz Com. Spectrum, 27 FCC Rcd. 3521,

3534 & n.77 (Mar. 21, 2012) (“U.S. Cellular recently announced the planned launch of a 4G LTE

network that will cover 25 percent of U.S. Cellular’s customers and will use 700 MHz licenses of

its partner, King Street Wireless.”).     In light of this disclosure, Relators’ suggestion that

Advantage’s publicly disclosed leases to U.S. Cellular were either “secret” or “false” do not

“materially add” to the body of publicly disclosed information and do not carry Relators’ burden

to show they are an original source.




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       It is Relators’ burden to “demonstrate that [they are] an original source.” Smith v. Athena

Constr. Grp., Inc., 18-cv-2080 (APM), 2022 WL 888188, at *9 (D.D.C. Mar. 25, 2022). Because

Relators’ surveillance efforts “merely add[ed] information to that contained in the public FCC

filings,” the public disclosure bar applies and compels dismissal—just as this Court previously

held. Mem. Op. at 11.

               3.        The Allegations From O’Connor II Are Also Publicly Available, And
                         Do Not Materially Add To The Allegations Or Transactions In This
                         Case.

       Relators’ last-ditch effort is to port-over allegations from O’Connor II into this case. The

key allegations ported over appear in Paragraphs 69, 70, and 71 of the Amended Complaint, in

which Relators purport to have uncovered a “secret agreement” by which King Street

surreptitiously leased its spectrum to U.S. Cellular. These allegations are also foreclosed by the

public disclosure bar.

       Relators allege that “U.S. Cellular and DiNardo/King Street had entered into a secret

leasing agreement under which U.S. Cellular . . . was providing service to its own customers using

King Street spectrum.” Am. Compl. ¶ 70. Relators are referring to the “2011 network sharing

agreement” between King Street and U.S. Cellular, which King Street discusses at length in its

pending Motion to Dismiss in O’Connor II.            As explained at length there, the FCC was

demonstrably aware of the precise business relationship this alleged “secret agreement”

embodies. In numerous public filings on the FCC docket, U.S. Cellular and King Street repeatedly

disclosed its plans to offer LTE services to U.S. Cellular customers “using” King Street’s

spectrum, including through the network sharing agreement. See, e.g., King Street Notice of Ex

Parte Communication, FCC WT Docket 11-18 (Nov. 30, 2011), at 1 (stating provision of services

would be a “joint effort” of “King Street, in conjunction with U.S. Cellular” to “provide LTE

services in select markets”) (attached as Liegel Decl., Ex. E); U.S. Cellular Ex Parte Presentation,


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FCC WT Docket 12-69 (Dec. 3, 2012), at 16 (“[King Street] is partnering with U.S. Cellular to

deliver high speed 4G LTE service to U.S. Cellular’s customers in several of the carrier’s

markets.”) (attached as Liegel Decl., Ex. F); U.S. Cellular Auction 901 Long-Form Application,

Am. Ex. 2 (Redacted – For Public Inspection), FCC Applic. File No. 0005476908 (June 5, 2013),

at 1 (“Pursuant to a Network Sharing Agreement . . . King Street agreed to provide 4G services, to

be managed by [U.S. Cellular] . . . via King Street’s Spectrum.”) (attached as Liegel Decl., Ex. G).

Moreover, the FCC itself publicly declared that U.S. Cellular’s 4G LTE network would “use the

700 MHz licenses of its partner, King Street Wireless.” Promoting Interoperability in the 700

MHz Com. Spectrum, 27 FCC Rcd. at 3534 & n.77. Thus, the very arrangement Relators allege is

“secret” in fact was publicly disclosed—both by the entities Relators alleged concealed it, and by

the very agency from whom it was supposedly concealed.6

       Relators also seek to avoid the public disclosure bar by averring they have “discovered”

the “secret” lease agreement through “engineering field tests.” Am. Compl. ¶ 72. But these

supposed “engineering field tests” did not occur until February 2015—years after the public

disclosures described above. See SAC, O’Connor II, ECF No. 118 ¶ 98; United States ex rel.

Oliver v. Philip Morris USA Inc., 826 F.3d 466, 479 (D.C. Cir. 2016) (“Oliver II”) (no original



6
  These disclosures continued over time, thereby repeatedly repudiating the existence of a
supposed “secret” agreement. See, e.g.¸ U.S. Cellular Ex Parte Filing, Docket No. IB 11-149 (Feb.
8, 2012) at 1 (referring to “the impending launch by U.S. Cellular and its partner, King Street
Wireless, L.P. of 4G LTE devices to approximately 25% of U.S. Cellular’s customer base”)
(emphasis added) (attached as Liegel Decl., Ex. H); U.S. Cellular Ex Parte Filing, FCC WT Docket
12-69 (Jan. 24, 2013), at 1-2 (“[B]y the end of 2013, U.S. Cellular in conjunction with King Street
Wireless, L.P. would have 4G LTE service deployed to 87% of its customers.”) (emphasis added)
(attached as Liegel Decl., Ex. I); Letter from Telephone & Data Systems, Inc. to Larry Spirgel,
Assistant Director, SEC (Aug. 3, 2017), at 5 (“The Company has a Network Sharing Agreement
(“NSA”) with King Street Wireless, which generally provides for U.S. Cellular to compensate
King Street Wireless for the use of its spectrum and King Street Wireless to compensate U.S.
Cellular for use of portions of U.S. Cellular’s wireless network.”) (emphasis added) (attached as
Liegel Decl., Ex. J).


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source status where “at best verif[y] [] information contained in” the public FCC filings). Nor do

these “engineering field tests” materially add to the veritable library of publicly-disclosed

documents detailing King Street’s agreements with U.S. Cellular.7

       And even if Relators’ field tests somehow materially added to their allegations or

transactions related to King Street’s and U.S. Cellular’s licenses, this Amended Complaint is

expressly focused on licenses that Advantage received. King Street’s network sharing agreements

with U.S. Cellular are irrelevant to this case. Again, Relators do not (and cannot) allege that King

Street bid on or received any spectrum licenses or bidding credits in Auction 97. King Street

received licenses in an entirely different auction (Auction 73), which occurred years before

Auction 97. Relators cannot save their claims challenging the award of licenses and bidding credits

to Advantage in Auction 97 by incorporating irrelevant allegations about King Street involving

different auctions and different licenses.8

       In short, Relators’ “new” allegations from O’Connor II are drawn from public sources and

do not overcome the public disclosure bar or satisfy Relators’ burden to show they are entitled to

“original source” status. See Mem. Op. at 13. Relators cannot avoid the public disclosure bar by



7
  Relators’ field tests did not occur until after the five-year restricted DE period for King Street
from Auction 73—at which point there can be no FCA liability because King Street could not have
owed any unjust enrichment payments to the FCC. See 47 C.F.R. § 1.2111(d)(2)(i)(E) (2012).
8
  Relators also claim to have independently discovered that U.S. Cellular was involved in the build
out of Advantage’s and King Street’s networks. See Am. Compl. ¶ 115. But FCC regulations
expressly authorize a licensee (i.e. Advantage) to meet its construction buildout requirements by
“attribut[ing] to itself the build-out or performance activities of its spectrum lessees(s).” 47 C.F.R.
1.9020(d)(5)(i). In addition, the fact that U.S. Cellular was one such “spectrum lessee” was
publicly disclosed in the Public Interest Statement attached to the Amended Complaint. Am.
Compl., Ex. 15. Thus, Relators’ allegation that U.S. Cellular “planned and constructed the
networks,” Am. Compl. ¶ 115, was both publicly disclosed and plainly authorized under FCC
regulations. Relators’ allegation additionally fails because it does not establish falsity. Whether
U.S. Cellular “planned or constructed” wireless service networks has no bearing on whether
Advantage also “[was] in the planning stages of construction,” as Advantage certified to the FCC.
Id.

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inserting the words “secret agreement” into the Amended Complaint where, as here, the purported

“secret” is public information. See, e.g., Silbersher v. Valeant Pharmas. Int’l, Inc., 445 F. Supp.

3d 393, 403 (N.D. Cal. 2020) (public disclosure bar cannot be overcome by “wholly conclusory

allegations unsupported by any facts” that are “also inconsistent with the panoply of public

materials that are discussed in the [complaint]”) (internal citation omitted); United States ex rel.

Bogina v. Medline Indus., Inc., 809 F.3d 365, 370 (7th Cir. 2016) (conclusory allegations of

continuing fraud cannot avoid public disclosure bar).

               4.      The Prior Qui Tam Lawsuit Independently Warrants Dismissal.

       Even setting aside the public FCC filings that bar Relators’ claims, an independent barrier

to the Amended Complaint is the prior qui tam lawsuit filed by the law firm in which one of the

Relators was formerly a partner. The prior qui tam suit was itself a “public disclosure” that DOJ

and the FCC actually investigated and thereafter declined to take action. See Am. Compl., No.

1:07-cv-00800-JDB (D.D.C. Apr. 24, 2008), ECF No. 11 (the “2008 Complaint”) (attached as

Liegel Decl., Ex. K). This Court did not consider the 2008 Complaint when dismissing the original

complaint, but it independently warrants dismissal as well.

       The 2008 Complaint indisputably triggers the public disclosure bar because it is a

disclosure in a “civil . . . hearing.” 31 U.S.C. § 3730(e)(4)(A)(ii). The 2008 Complaint was

publicly available over five years before Relators brought this case: It was published on Westlaw

in April 2009, see FCC Letter to Mr. Thomas Gutierrez Re: Auction 73 Application of King Street

Wireless, L.P., 24 FCC Rcd. 4527, 2009 WL 1012832 (Apr. 14, 2009), and unsealed in full later

that year, see Min. Order, Lampert & O’Connor, P.C. v. Carroll Wireless, L.P., No. 1:07-cv-

00800-JDB (D.D.C. Oct. 22, 2009).9


9
 Because the 2008 Complaint preceded the 2010 amendments to the public disclosure bar, this
Court need not decide whether the prior qui tam suit qualifies as a proceeding “in which the


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       The dispositive question for purposes of the public disclosure bar is whether the allegations

in the 2008 Complaint are similar enough to the allegations here to have “alert[ed] the government

to ‘the likelihood of wrongdoing.’” Mem. Op. at 8 (quoting Shea, 863 F.3d at 933). They are. As

the table that follows demonstrates, comparing the 2008 Complaint to the Amended Complaint

reveals that all of the essential allegations on which the Amended Complaint rests are drawn

directly from the 2008 Complaint—including Relators’ core allegation that Defendants used “DE

fronts” to obtain bidding credits in FCC spectrum auctions.



                                     [Intentionally left blank]




Government or its agent is a party.” 31 U.S.C. § 3730(e)(4)(a)(i). That requirement was only
added in 2010, and even so, a qui tam relator is the government’s “agent” for purposes of
application of the public disclosure bar in cases in which the government has declined to intervene.
See United States ex rel. Holloway v. Heartland Hospice, Inc., 960 F.3d 836, 845 (6th Cir. 2020).


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   Core Allegation             Amended Complaint                       2008 Complaint

                          “U.S. Cellular, DiNardo, and         “Defendants US Cellular and
                          Vail formed and caused               TDS created and have
                          Advantage to be formed               maintained the sham entities
Parties engaged in a
                          specifically so that U.S. Cellular   [including King Street Wireless]
scheme to obtain DE
                          could acquire discounted             . . . to file FCC applications to
bidding credits.
                          spectrum licenses in FCC             qualify as [a] ‘very small
                          Auction 97 using DE bid              business’ for bidding credits
                          credits.” ¶ 83.                      . . . .” ¶ 54

                          “U.S. Cellular’s billions of         “[Defendants] knowingly failed
                          dollars in gross revenues, as well   to attribute the revenues of
                          as King Street’s gross revenues      Defendants US Cellular,
                          under the secret lease, should       USCCWI, and TDS.” ¶ 83
DEs failed to attribute   have been disclosed and
revenues of large         attributed to Advantage in its
carriers.                 FCC Auction 97 applications, as
                          well as disclosed and attributed
                          to Advantage in the DE Annual
                          Reports throughout the unjust
                          enrichment period.” ¶ 132.

                          “Advantage’s only business           “Defendants Carroll Wireless,
                          presence is on paper, and was        Barat Wireless, and King Street
                          intended solely to mislead the       Wireless . . . did not and do not
DEs are actually sham     FCC that it does not share office    operate or function as actual
entities that do not      space with U.S. Cellular (or         businesses” and “the Defendants
operate as businesses.    King Street), and operates           provided to the FCC addresses
                          independently.” ¶ 120.               and telephone numbers that were
                                                               associated with non-operating
                                                               business fronts.” ¶ 61.

                          “Advantage’s bidding strategy in     “The scope and terms of the FCC
                          FCC Auction 97 was controlled        Applicants’ bidding activity . . .
                          and directed by U.S. Cellular        were essentially dictated to the
                          and DiNardo, as U.S. Cellular’s      FCC Applicants by the TDS
                          proxy, solely for U.S. Cellular’s    Group. This activity was
                          benefit, and was designed solely     effectively ceded over to the
DEs did not make
                          to add to or expand U.S.             TDS Group through Bidding
bidding decisions.
                          Cellular’s existing spectrum.”       Agreements for Auctions 58, 66
                          ¶ 86                                 and 73, and the many subsequent
                                                               amendments to those
                                                               Agreements struck during the
                                                               course of the auctions . . . .”
                                                               ¶ 69.



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   Core Allegation           Amended Complaint                      2008 Complaint

                        “U.S. Cellular controlled the       “In this case, Defendants US
                        construction of the networks, use   Cellular, USCCWI, and TDS
                        of Advantage’s licensed             were the actual parties in control,
                        spectrum, and use of the            and Defendants Carroll Wireless,
DEs lacked
                        networks for its own customers.”    Caroll Inc., Barat Wireless, Barat
independent control.
                        ¶ 133                               Inc., King Street Wireless [L.P.],
                                                            King Street [Wireless,] Inc., and
                                                            DiNardo were simply proxies
                                                            used to deceive the FCC.” ¶ 6.

                        “Advantage’s purported place of     “To induce the Government to
                        business at the time of [Auction    believe that [Carroll Wireless,
                        97] . . . was vacant without any    Barat Wireless, and King Street
DE’s business address   furniture or signage to indicate    Wireless] were bona fide
was vacant during the   there was a business operating      enterprises, however, the
FCC Auction.            from or within the office.” ¶ 87    Defendants provided to the FCC
                                                            addresses and telephone numbers
                                                            that were associated with non-
                                                            operating business fronts.” ¶ 61.

                        Mr. Vail “had no prior              “Ms. DiNardo had no experience
                        involvement or experience in        or background in
                        spectrum auctions, including the    telecommunications operations
                        law and FCC regulations             or spectrum license development
                        associated with bidding and         or services and, under arms-
DE owner lacked
                        acting as a DE.” ¶ 90.              length circumstances, could not
experience.
                                                            have raised the many hundreds
                                                            of millions of dollars necessary
                                                            to fund the acquisition of the
                                                            spectrum licenses in Auction 58,
                                                            66, or 73.” ¶ 63.

                        “Virtually all of the licenses      DEs obtained licenses that
                        Advantage won were identified       “cover markets that overlap with,
                        and selected by U.S.                are contiguous with, or otherwise
DE won spectrum
                        Cellular/DiNardo, and were in       complement US Cellular’s
licenses for large
                        markets that were either adjacent   operating wireless markets.”
carrier’s benefit.
                        to or overlapping with U.S.         ¶ 70.
                        Cellular wireless service areas.”
                        ¶ 94.

DE’s business address   Advantage’s business addresses      DE entities listed Ms. DiNardo’s
was a personal          “is or was Vail’s home address.”    “residence” as a business
residence.              ¶ 120.                              address. ¶ 61.



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       That this case involves a different bidding entity, or a different FCC Auction, “does not

change the calculus.” Smith, 2022 WL 888188, at *9; see also Scott, 2020 WL 224504 at *6

(whether a relator brings allegations of additional, specific instances of fraud “is of no

consequence”). A prior qui tam complaint triggers the public disclosure bar even if the prior

complaint named different defendants altogether. See, e.g., United States ex rel. Hockett v.

Columbia HCA Healthcare Corp., 498 F. Supp. 2d 25, 49 (D.D.C. 2007); see also United States

ex rel. Reed v. KeyPoint Gov’t Sols., 923 F.3d 729, 738 (10th Cir. 2019). Differences among the

different DEs involved are irrelevant where, as here, allegations are “levied against the same

corporate parent for the same type of fraud.” United States ex rel. Holloway v. Heartland Hospice,

Inc., 960 F.3d 836, 848–49 (6th Cir. 2020). Moreover, “the time difference” between the 2008

Complaint and Auction 97 “does not undermine the disclosure of [the] general practice,” and the

D.C. Circuit “ha[s] found disclosures going back as far as forty years prior to the relator’s lawsuit

. . . sufficient to disclose the practices which formed the basis of the relator’s suit.” Oliver II, 826

F.3d at 473 (internal quotation marks omitted). The law is clear that the public disclosure bar is

triggered so long as the “general practice” is disclosed. United States ex rel. Settlemire v. Dist. of

Columbia, 198 F.3d 913, 919 (D.C. Cir. 1999); see also Reed, 923 F.3d at 745 (public disclosure

bar does not require “a complete identity of allegations”).

       The Court need not speculate about whether the 2008 Complaint was sufficient to put the

government on notice of the alleged fraudulent scheme because it actually “set government

investigators on the trail of fraud.” United States ex rel. Doe v. Staples, Inc., 773 F.3d 83, 87 (D.C.

Cir. 2014) (quoting United States ex rel. Springfield Terminal Ry. Co. v. Quinn, 14 F.3d 645, 655

(D.C. Cir. 1994)). The FCC investigated the 2008 Complaint and publicly requested that King

Street respond, in a public submission, to the 2008 Complaint’s FCA allegations. See Letter from




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R. Noel to T. Gutierrez Re: Auction 73 Application of King Street Wireless, L.P., 24 FCC Rcd. at

4527 (seeking “a written response and any supporting documentation that [King Street] deem[s]

pertinent in responding to these allegations”). King Street fully responded to the FCC’s request.

See Resp. to Bureau Inquiry (Redacted), FCC ULS File No. 0003379814 (May 8, 2009) (attached

as Liegel Decl., Ex. L). And, after receiving King Street’s response, the FCC granted licenses and

bidding credits to King Street. Further, the FCC was not alone in investigating the 2008

Complaint—the Department of Justice also investigated those allegations, and after investigating,

declined to intervene in this case.10 The government’s actual conduct confirms that the 2008

Complaint provided the government with “sufficient notice” of an alleged fraudulent scheme by

U.S. Cellular to use sham Designated Entities to obtain control of spectrum licenses at an

unlawfully steep discount.

        Indeed, a recent decision by Judge Mehta in another qui tam FCA case, Smith v. Athena

Construction Group, 18-cv-2080 (APM), 2022 WL 888188 (D.D.C. Mar. 25, 2022), is directly on

point and powerfully demonstrates why the public disclosure bar applies in light of the 2008

Complaint. In Smith, relators alleged ten specific instances of “pass-through fraud,” in which the

defendant “sold” its status as a certified small business to prime contractors, allowing those prime

contractors to gain preferential treatment in the government contracting process. Id. at *9. Yet

the district court recognized that an earlier qui tam complaint alleged that the same defendant “had

participated in a similar pass-through scheme” in another state. Id. at *7. The district court

dismissed relators’ pass-through claims with prejudice, holding that, although the prior complaint



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  The FCC likewise scrutinized the same allegations before awarding spectrum and bidding credits
to Carroll and Barat—entities Relators admit in Case No. 20-2071 had functionally the same
ownership structure and relationship to U.S. Cellular as King Street had. See SAC, Case No. 20-
2071, ECF No. 118, ¶¶17, 28–32.



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was “limited to a single contract in a single state,” and although the prior complaint “did not give

the government notice of all potential instances of pass-through fraud” it nevertheless “provided

the government sufficient notice of that scheme such that further investigation likely would have

revealed similar instances of fraud.” Id. at *9 (second emphasis added).11

       Smith’s reasoning is persuasive and should be followed here. Just as in Smith, the 2008

Complaint could have—and did—put the government on the trail of the alleged fraud. The 2008

Complaint placed each of the X + Y = Z into the public domain. See Springfield Terminal, 14

F.3d at 654. And while the 2008 Complaint “did not give the government notice of all potential

instances of [] fraud,” Smith, 2022 WL 888188, at *9 (emphasis in original), just like in Smith, it

nevertheless “provided the government sufficient notice of that scheme such that further

investigation likely would have revealed similar instances of fraud.” Id. (emphasis added). The

2008 Complaint—independently and also in conjunction with all other public filings—bars the

Amended Complaint.

       B.      Relators Fail To Plead Core FCA Elements.

       The public disclosure bar alone compels dismissal of this case. Even if Relators could

overcome it, dismissal would be warranted because the Amended Complaint also fails to plausibly

allege multiple core FCA elements with particularity as to the King Street Defendants, including



11
  The well-reasoned decision in Smith is one of the latest in a long line of cases applying the public
disclosure bar based on prior complaints. See, e.g., Holloway, 960 F.3d at 851 (applying public
disclosure bar where “Holloway’s allegations are substantially the same as those made in the South
Carolina complaints”); United States ex rel. Estate of Cunningham v. Millennium Labs. of Cal.,
713 F.3d 662, 673 (1st Cir. 2013) (applying public disclosure bar where “the allegations in
Relator’s complaint and the California suit both concern fraudulent billing of confirmation tests
when such tests were purportedly unnecessary, and they link that practice with Millennium’s
billing model which benefits Millennium and the physician defendants”); cf. United States ex rel.
Boothe v. Sun Healthcare Grp., Inc., 496 F.3d 1169, 1174 (10th Cir. 2007) (Gorsuch, J.) (applying
pre-2010 public disclosure bar where Relator alleged “fraudulent schemes, the substance of which
[was] ‘derived from’ the claims of qui tam relators who have come before her”).

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Ms. DiNardo—namely: (1) presentment; (2) an obligation to pay in support of the reverse FCA

claim or an overt act in support of the conspiracy claim; (3) scienter; and (4) materiality. Rules

9(b) and 12(b)(6) therefore require dismissal as to the King Street Defendants.

               1.      Relators Fail To Plead Presentment.

       Relators bring FCA claims against the King Street Defendants—including an individual,

Allison DiNardo, sued cavalierly and inexplicably in her personal capacity—even though the King

Street Defendants received no licenses or bidding credits from the government in Auction 97.12

But FCA liability cannot lie against an individual or entities that did not “present[], or caus[e] to

be presented a false or fraudulent claim for payment or approval.” 31 U.S.C. § 3729(a)(1)(A).

Likewise, “false statement” liability under § 3729(a)(1)(B) of the FCA similarly requires that a

defendant have “ma[de], or use[d], or cause[d] to be made or used, a false record or statement

material to a false or fraudulent claim.” Id. Rule 9(b) thus requires that a relator plead “details

about the presentment, including when the false claims were presented and who presented those

claims.” United States ex rel. Cimino v. IBM, 3 F.4th 412, 424 (D.C. Cir. 2021) (emphasis added);

see also Pencheng Si v. Laogai Rsch. Found., 71 F. Supp. 3d 73, 85 (D.D.C. 2014) (Brown

Jackson, J.) (“Motions to dismiss for failure to plead fraud with sufficient particularity are

evaluated in light of the overall purposes of Rule 9(b), which [include] . . . to protect reputations

of . . . professionals from scurrilous and baseless allegations of fraud.”) (internal quotations and

citations omitted).

       Here, Relators fail to plausibly allege presentment. The Amended Complaint does not even

allege that any of the King Street Defendants submitted any allegedly false “claim.” Nor could it:


12
  Relators voluntarily dismissed Mr. Vail—the control person in Advantage—from this case on
March 25, 2020. See ECF Nos. 59, 85. The government consented to that dismissal, concluding
that “such a dismissal is commensurate with the public interest.” ECF No. 82. Accordingly, Ms.
DiNardo remains the only natural person named as a defendant.


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The King Street Defendants are not alleged to have bid in Auction 97 or to have signed any

submission to the government, including the Short-Form Application or Long-Form Application

to the FCC. See, e.g., Am. Compl. ¶ 77 (alleging “through Vail, Advantage Spectrum, L.P.”

submitted the Short-Form Application); id. ¶ 106 (alleging “Vail and U.S. Cellular filed and caused

to be filed” Long-Form Application); id. ¶ 129 (alleging “U.S. Cellular and Advantage have filed

and caused to be filed at least 21 Construction Notices”). Moreover, by the time the operative

amended Long-Form Application was filed with and granted by the FCC, Ms. DiNardo had

transferred her entire indirect, minority, and non-controlling interest in Advantage to Mr. Vail.

See Liegel Decl., Ex. A (Stock Purchase Agreement); Liegel Decl., Ex. B (amending Advantage’s

Long-Form Application to reflect the Stock Purchase Agreement). Relators’ failure to plead

presentment requires dismissal of the King Street Defendants from this action.

       Nor does the Amended Complaint reach any King Street Defendant on the theory that they

“cause[d]” violations of the False Claims Act. 31 U.S.C. §§ 3729(a)(1)(A), (B), (G). As the D.C.

Circuit has recognized, causation means “actual cause under the but-for standard.” Cimino, 3

F.4th at 421 (emphasis added). Relators plead no facts establishing that the King Street Defendants

were the but-for cause of any of Advantage’s submissions for any claim for payment related to

Auction 97. Instead, Relators simply lump together the multiple defendants without particularized

allegations of the King Street Defendants’ role in the alleged fraud.

       Relators try to put the King Street Defendants on the hook for Auction 97 in five ways, but

every way is legally inadequate and grasping.

       First, Relators allege that “Advantage’s Auction 97 bidding was conducted from

DiNardo’s offices.” Am. Compl. ¶ 89. But Relators do not allege that by allowing the bidding to

be conducted from her offices, Ms. DiNardo made, or caused to be made, any statements in




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Advantage’s applications to the FCC. Indeed, the publicly-disclosed Frequency LP Agreement

explicitly provided that Ms. DiNardo, through Nonesuch, “shall not, except as otherwise provided

in this Agreement, take part in . . . the conduct or control of the [Frequency] Partnership business,

nor shall [Nonesuch] have any right or authority to act for or bind the Partnership.” Frequency LP

Agreement § 8.1 (attached as Liegel Decl., Ex. M) (emphases added); see also Liegel Decl., Ex.

C (Bidding Protocol Agreement) ¶ 3 (bids are to be submitted by Mr. Vail “at his discretion”).

           Second, Relators allege that “[Stephen] Hinz, who was employed by King Street

Wireless/DiNardo . . . was identified as an authorized bidder to conceal DiNardo’s active role in

the bidding decisions.” Am. Compl. ¶ 91. But the FCC expressly permitted the “addition of

authorized bidders” to an applicant’s application and deemed such an amendment a “minor

change” that did not affect DE eligibility. See Auction of Advanced Wireless Services (AWS-3)

Licenses Scheduled for Nov. 13, 2014, 29 FCC Rcd. 8386, 8417 (July 23, 2014) (stating that

addition of authorized bidders qualified as a minor change); 47 C.F.R. § 1.2105(b)(2)

(distinguishing between “minor amendments” and “[m]ajor amendments”). Moreover, Relators

do not allege that Mr. Hinz actually took any action during the auction, let alone action that was a

“but-for” cause of any submitted claim or application. Indeed, Mr. Hinz does not appear as a

signatory or decision-maker on any bids or other auction documents on the FCC Docket, see

generally FCC Applic. File No. 0006457325; FCC ULS File No. 0006668843, much less on the

Long-Form Application that formed the basis for the award of the spectrum licenses and bid

credits.

           Third, Relators allege that Ms. DiNardo was “present for and participated in the bidding

decisions.” Am. Compl. ¶ 92. Ms. DiNardo’s participation is unsurprising, given that she was

one of three members of the Bidding Council, as publicly disclosed in the Bidding Protocol




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Agreement. Liegel Decl., Ex. C (Bidding Protocol Agreement) ¶ 2. And Relators’ vague

allegation that Ms. DiNardo “participated” in bidding decisions falls well-short of alleging she was

a “but-for” cause of any such decision. Indeed, the Bidding Protocol Agreement permitted Ms.

DiNardo to participate by “review[ing] the bids,” but left the bidding decision to Mr. Vail “at his

discretion.” Id. ¶ 3.

       Fourth, Ms. DiNardo was no longer even an indirect limited partner in Advantage after she

and Mr. Vail consummated the December 31, 2015 stock purchase agreement, pursuant to which

she relinquished her entire minority ownership in Frequency and therefore her indirect interest in

Advantage. It is therefore impossible that Ms. DiNardo could have exercised any control over

Advantage after that date, or caused Advantage to submit any claim to the government.

Accordingly, Ms. DiNardo could not have been a “but-for” cause of six amendments of

Advantage’s Long-Form Application, the final version of the Long-Form Application that the FCC

acted upon in granting the spectrum licenses and bidding credits, or the annual DE certifications

and construction notices. See generally FCC Applic. File No. 0006457325; FCC ULS File No.

0006668843.

       Finally, Relators at times allege the involvement of King Street Defendants by lumping

them together with another Defendant. See, e.g., Am. Compl. ¶ 94 (“Virtually all of the licenses

Advantage won were identified and selected by U.S. Cellular/DiNardo . . . .”); id. ¶ 103

(“Advantage Spectrum and Frequency Advantage entered into numerous undisclosed agreements

. . . with U.S. Cellular and DiNardo/King Street.”). Relators’ “A/B” allegations fail to satisfy Rule

9(b)’s particularity requirement. See Scollick ex rel. United States v. Narula, 14-cv-1339 (RCL),

2021 WL 737077, at *10 (D.D.C. Feb. 25, 2021) (“Alleging that Dr. Shobha Mehta and/or Dr.

Nitin Mehta acted in some way is akin to alleging that either (1) Dr. Shobha Mehta acted, or (2)




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Dr. Nitin Mehta acted, or (3) both doctors acted. This “and/or” pleading does not identify, with

particularity, the individuals involved.”) (emphasis in original).

       Altogether, Relators fail to plausibly allege that the King Street Defendants either

submitted any claims in Auction 97, or were a “but-for” cause of any of the claims submitted in

Auction 97. Thus, Relators’ claims against the King Street Defendants must be dismissed separate

and apart from the public disclosure bar.

               2.      Relators’ Reverse False Claims And Conspiracy Claims Are Legally
                       Defective.

       Relators’ so-called “reverse false claims” allegations fail for similar reasons. Section

3729(a)(1)(G) of the False Claims Act requires the existence of an “obligation to pay or transmit

money or property to the Government.” 31 U.S.C. § 3729(a)(1)(G) (emphasis added). Here, Ms.

DiNardo and the King Street entities were not awarded any licenses or bidding credits in Auction

97, so there is nothing they could be “obligat[ed] to pay or transmit” to the FCC. See Pencheng

Si, 71 F. Supp. 3d at 96 (Brown Jackson, J.) (dismissing reverse false claims allegations for failure

to plead an “obligation” with particularity). Indeed, Ms. DiNardo had no interest in Advantage at

the time the FCC awarded the spectrum licenses and bidding credits.

       Relators’ conspiracy allegations as to the King Street Defendants also fail under Rule 9(b)

because Relators make “no specific allegations of an agreement [to defraud the government] or

the commission of an overt act.” United States ex rel. Conteh v. IKON Office Sols., Inc., 103 F.

Supp. 3d 59, 68 (D.D.C. 2015). Count One does not specify an overt act involving any King Street

Defendant in furtherance of the alleged conspiracy. The Amended Complaint lacks particularized

allegations tying the King Street entities to any alleged conspiracy involving Advantage; at best,

it alleges separate conspiracies both involving U.S. Cellular at the “hub.” See United States v.

Mathis, 216 F.3d 18, 24 (D.C. Cir. 2000) (“Our caselaw, however, teaches that competing spoke



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suppliers in a hub conspiracy must not only have a connection to the hub sellers but must also have

interdependence among each other in order to form a rim and constitute a single conspiracy.”)

(emphasis added). Relators cannot state an FCA conspiracy claim against the King Street

Defendants given these gaping holes.

       Moreover, Relators’ conspiracy and reverse False Claims Act claims also must be

dismissed because there is no underlying FCA violation. Conspiracy liability requires a relator to

“establish an underlying FCA violation,” which Relators here have failed to do. United States ex

rel. Kasowitz Benson Torres LLP v. BASF Corp., 929 F.3d 721, 728 (D.C. Cir. 2019); see also

United States ex rel. Godfrey v. KBR, Inc., 360 F. App’x 407, 413 (4th Cir. 2010).

               3.      Relators Cannot Establish Scienter.

       FCA liability hinges on the existence of a falsehood that is committed knowingly. See 31

U.S.C. §§ 3729(a)(1)(A), (B), (D), (G); Universal Health Servs., Inc. v. United States ex rel.

Escobar, 579 U.S. 176, 187 n.2 (2016). The FCA defines “knowingly” to mean that a defendant

“(i) has actual knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity

of the information; or (iii) acts in reckless disregard of the truth or falsity of the information.” 31

U.S.C. § 3729(b)(1). Mere negligence is insufficient for alleging scienter under the FCA. United

States ex rel. Bettis v. Odebrecht Contractors of Cal., Inc., 297 F. Supp. 2d 272, 277 (D.D.C.

2004). Relators cannot satisfy this “rigorous” FCA scienter requirement, Escobar, 579 U.S. at

192, as a matter of law for two reasons.

       First, the Amended Complaint contains no particular allegations suggesting that the King

Street Defendants even knew the contents of the claims Advantage submitted to the FCC in

connection with Auction 97. Just as Relators fail to plead that Ms. DiNardo “presented” any claim

for payment, see supra at 28, Relators also do not allege that Ms. DiNardo reviewed Advantage’s

applications or other submissions made to the FCC. See, e.g., Am. Compl. ¶ 77 (no allegation that


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King Street Defendants reviewed Advantage’s Short-Form Application); id. ¶ 106 (no allegation

that King Street Defendants reviewed Advantage’s Long-Form Application); id. ¶ 129 (no

allegation that King Street Defendants reviewed Advantage’s Construction Notices). Without

knowing what the submissions said, the King Street Defendants could not have known,

deliberately ignored, or recklessly disregarded that the submissions were false. Relators fail to

“identify individuals allegedly involved in the fraud,” and thus fail to satisfy Rule 9(b). United

States ex rel. Williams v. Martin Baker Aircraft Co., 389 F.3d 1251, 1256 (D.C. Cir. 2004).

       Second, Relators cannot plead scienter because they cannot allege that Defendants adopted

an “objectively unreasonable” interpretation of an unambiguous rule that the FCC “warned [them]

away” from. Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 69, 70 (2007). As the D.C. Circuit has

repeatedly recognized, the FCA cannot “penaliz[e] a private party for violating a rule without first

providing adequate notice of the substance of the rule.” United States ex rel. Purcell v. MWI Corp.,

807 F.3d 281, 287 (D.C. Cir. 2015). “Strict enforcement of the FCA’s knowledge requirement” is

necessary to avoid such affronts to due process. Id.; see also United States v. Sci. Applics. Int’l

Corp., 626 F.3d 1257, 1274 (D.C. Cir. 2010) (“Congress clearly had no intention to turn the FCA

. . . into a vehicle for . . . punishing honest mistakes or incorrect claims submitted through mere

negligence.”) (internal quotations and citation omitted).

       The Amended Complaint itself recognizes the ambiguous, fact-sensitive nature of applying

the DE rules here. See, e.g., Am. Compl. ¶ 45 (“Affiliations arise under various circumstances

. . . .”); id. ¶ 46 (“The determination whether an entity is a joint venture rests on the facts of the

business operation . . . .”). As the D.C. Circuit has recognized, the FCC’s DE program is governed

by a vast array of complex and ambiguous rules. See Tel. & Data Sys., Inc. v. FCC, 19 F.3d 42,

50 (D.C. Cir. 1994) (criticizing de facto control test as a “meaningless recitation” of words




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enabling the FCC to “find compliance or noncompliance . . . arbitrarily”); see also SNR Wireless

LicenseCo, LLC v. FCC, 868 F.3d 1021, 1044 (D.C. Cir. 2017) (“[T]here was considerable

uncertainty at the time of Auction 97 about the degree of control [the FCC’s DE] rules would

tolerate.”).

        Relators make no allegation that Defendants’ interpretation was “objectively

unreasonable” in light of “necessary ‘authoritative guidance.’” Purcell, 807 F.3d at 289. There is

no allegation that the FCC ever conveyed to any of the Defendants that their interpretation of the

DE regulations was faulty. To the contrary, far from “warning away” the King Street Defendants,

the FCC granted King Street DE bidding credits after investigating the substantially similar

allegations in the 2008 Complaint, and after requesting and reviewing King Street’s response to

those allegations. Specifically, the FCC asked King Street to respond to allegations that it was a

“sham entit[y] created solely to facilitate the acquisition of telecommunications licenses at

substantial discounts to which the TDS Group and its affiliates were otherwise not entitled.” Letter

from R. Noel to T. Guttierez, 24 FCC Rcd. at 4528 (quoting 2008 Complaint at ¶ 3). In a response

letter, King Street rebutted those allegations by submitting evidence of Ms. DiNardo’s control over

King Street, including her responsibilities of assessing “primary auction parameters,” “r[unning]

and control[ing] the bidding for all of the Licenses,” and “negotiat[ing] with Commission staff

numerous changes to the organizational and funding documents associated with the licenses.”

Liegel Decl., Ex. L (Resp. to Bureau Inquiry (Redacted)) at 18–19. After reviewing King Street’s

response, and the numerous declarations and exhibits attached thereto, see id. at 30–31, the FCC

granted the licenses and bidding credits to King Street.

        Moreover, the Amended Complaint alleges that “[s]ince at least 2002 . . . entities [owned

by Ms. DiNardo and associated or formed in partnership with U.S. Cellular] have ceded control




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. . . of their spectrum to U.S. Cellular, which has used their licenses to expand its network and

provide service to its customers.” Am. Compl. ¶ 68. Given the FCC’s consistent award of licenses

and DE bidding credits to other DEs associated with Ms. DiNardo—including before and after a

DOJ and FCC review of its practice following the filing of a qui tam complaint in 2008—the King

Street Defendants, on the alleged facts of this case, had no reason to doubt the propriety of

Advantage arrangements and thus could not have acted with FCA scienter.13

       Relators cannot plead scienter when they failed to plead facts showing that a defendant’s

interpretation of a complex regulatory regime was “objectively unreasonable.” Safeco, 551 U.S.

at 69; see also United States ex rel. Sheldon v. Allergan Sales, LLC, 24 F.4th 340, 350 (4th Cir.

2022) (“It is profoundly troubling to impose such massive liability on individuals or companies

without any proper notice as to what is required. Safeco avoids this trouble . . . .”), re-hr’g en banc

granted. No such allegations appear here. To the contrary, the Amended Complaint makes clear

that the King Street Defendants had every reason to believe that their arrangements were entirely

appropriate. Relators’ dispute is not aimed at the King Street Defendants’ submission of a false

or fraudulent claim, but is rather aimed at the DE regulatory regime itself. To the extent Relators

wish to challenge that regime, they are free to petition the FCC; but their regulatory challenge does



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   The FCC also scrutinized, and expressly approved, substantially similar DE arrangements
involving U.S. Cellular in 2002. In re Minnesota PCS, L.P., 17 FCC Rcd. 126 (Jan. 2, 2002). In
Minnesota PCS, the FCC specifically rejected allegations that a DE had “confer[red] de facto
control [over its licenses] on [U.S. Cellular].” Id. at 131 (¶ 12). The FCC determined that
contractual provisions such as “[the DE’s] put rights, [U.S. Cellular’s] right of first refusal and
[U.S. Cellular’s] right to veto extraordinary expenditure” were “[t]he types of provisions . . .
contemplated by the Commission when formulating the applicable rules,” and thus did not raise
concerns regarding de facto control. Id. The FCC also held that allegations that “[the DE] is a
venture capitalist with no ‘hands on’ operation experience . . . is sheer speculation.” Id. at 131–32
(¶ 13). This mirrors Relators’ allegations that Mr. Vail “had no prior involvement or experience
in spectrum auctions.” Am. Compl. ¶ 90. The FCC’s approval of these similar DE arrangements,
also involving U.S. Cellular, shows that the Defendants could not have acted with scienter as a
matter of law.


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not sustain an FCA claim.

               4.      The FCA’s Rigorous Materiality Standard Dooms Relators’ Claims.

       The Supreme Court has explained that a misrepresentation about compliance with a

regulatory requirement, by itself, is insufficient for FCA liability. Instead, the requirement “must

be material to the Government’s payment decision in order to be actionable under the False Claims

Act.” Escobar, 579 U.S. at 192. This “rigorous” materiality standard is one that courts must

enforce “strict[ly],” id., including at the pleadings stage, id. at 195 n.6; see also id. at 194 (“The

materiality standard is demanding.”).

       In Escobar, the Supreme Court held that when “the Government pays a particular claim in

full despite its actual knowledge that certain requirements were violated, that is very strong

evidence that those requirements are not material.” Id. at 195. That principle controls this case

because the FCC had actual knowledge about Relators’ specific allegations before it awarded

bidding credits and spectrum licenses to Advantage in Auction 97. The FCC finally granted

Advantage’s Long-Form Application—thereby awarding its licenses and bidding credits—in July

2016—over a year after Relators filed this lawsuit, and nearly two years after Auction 97

commenced. The government was fully aware of Relators’ allegations of fraud well before it

awarded the spectrum licenses and bidding credits to Advantage.

       As the D.C. Circuit has explained, courts “have the benefit of hindsight and should not

ignore what actually occurred” when the government learned of a claim’s purported falsity. United

States ex rel. McBride v. Halliburton Co., 848 F.3d 1027, 1034 (D.C. Cir. 2017). In McBride, the

applicable government agency, the Defense Contract Audit Agency, investigated the relator’s

allegations that a government contractor had overbilled the government. Id. The government

continued to give the contractor “an award fee for exceptional performance” under the contract

“even after the Government learned of [relator’s] allegations.” Id. The D.C. Circuit concluded


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that the government’s decision to keep paying the contractor in the face of the relator’s claims was

“very strong evidence” that the contractor’s allegedly fraudulent conduct was “not material.” Id.

(internal quotation marks omitted). The same is true here.

       By contrast, the FCC decided two other bidders in Auction 97 were de facto controlled by

a large business (DISH) and therefore were not entitled to DE bidding credits. See SNR Wireless,

868 F.3d at 1028. The FCC reviewed Advantage’s applications in the same auction and concluded

that Advantage, unlike the DISH-related entities, was entitled to the DE bidding credits it received.

FCC Public Notice, DA 15-503 (Aug. 29, 2015). The FCC’s completely different treatment of

Advantage and the DISH-related entities is compelling confirmation that Relators’ allegations

against Advantage were not infractions in the eyes of the FCC.

       This completely different treatment also shows why Relators’ allegations of materiality are

different from those that the D.C. Circuit recently addressed in Vermont National Telephone

Company v. Northstar Wireless, 34 F.4th 29 (D.C. Cir. 2022). In Vermont National (unlike here)

the FCC denied defendants’ application for DE bidding credits. As a result, the Vermont National

defendants argued that the alleged misrepresentations were immaterial because they “would not

have changed the Commission’s ultimate decision to deny bidding credits because the Commission

found [defendants] ineligible for credits even without” considering the alleged misrepresentations.

Id. at 37 (emphasis added). The D.C. Circuit rejected this argument, concluding the alleged

misrepresentations had the “potential to affect the Commission’s eligibility determination,” even

if the FCC’s decision had other bases. Id. (emphasis added).

       Here, in contrast, the core misrepresentations that Relators allege were in fact disclosed to

the FCC in the 2008 Complaint. The FCC was aware of that alleged noncompliance, considered

and independently investigated those allegations, and then actually decided to grant King Street




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DE bidding credits. And the FCC continued to grant other licenses to other DEs under similar

circumstances, including the other DEs named in the 2008 Complaint and Advantage in this case.

Because “materiality ‘look[s] to the effect on the likely or actual behavior of the recipient of the

alleged misrepresentation,’” Escobar, 579 U.S. at 193 (emphasis added), the misrepresentations

alleged here—which were all known to the government—did not have the “potential to affect” the

FCC’s decision making (and they did not actually affect it either). This defeats materiality.

       C.      Dismissal Should Be With Prejudice.

       Dismissal of a complaint with prejudice is appropriate where the complaint fails to state a

claim and amendment would be futile. Corporate Sys. Res. v. WMATA, 31 F. Supp. 3d 124, 135

(D.D.C. 2014). Amendment may be deemed futile if an amended complaint “would not survive a

motion to dismiss.” In re Interbank Funding Corp. Sec. Litig., 629 F.3d 213, 215 (D.C. Cir. 2010)

(citation and internal quotation marks omitted).

       Here, Relators amendments show that they cannot overcome the public disclosure bar. The

disclosures made through public FCC filings, the inherently public nature of the 2008 Complaint,

and the King Street Defendants’ distance from Auction 97, will not change. Nothing Relators can

plead in a second amended complaint will change the fact that the FCC considered the very facts

at the center of Relators’ case, and the agency nonetheless granted bidding credits and spectrum

licenses to Advantage.

       District courts in this Circuit routinely deny leave to amend where, as here, the public

disclosure bar applies. See, e.g., Smith, 2022 WL 888188, at *14; Scott, 2020 WL 224504, at *12.

Even if Relators could supply “additional incriminating information” (despite having already been

provided the opportunity to do so), none of Relators’ potential amendments could change “whether

the quantum of information already in the public sphere was sufficient to set government

investigators on the trail of fraud.” Smith, 2022 WL 888188, at *8 (quoting Staples, 773 F.3d at


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87) (emphasis added). Merely removing references to publicly filings in a pleading, as Relators

have done here, does not remove that information from the public sphere.

       Even when they are meritless, these lawsuits take a toll on private individuals named as

defendants. The interests of justice now compel dismissal with prejudice for the King Street

Defendants.

                                    V.    CONCLUSION

       This Court granted leave to amend because Relators said they could allege “more

information showing ‘in great detail’ the degree to which U.S. Cellular actually controlled

Advantage through King Street, L.P.” Mem. Op. at 13. Relators have not come close to doing so.

As in the original complaint, the essential allegations in the Amended Complaint were publicly

available years before Relators filed this action. The public disclosure bar squarely applies here

and compels dismissal of Relators’ claims. Even if the bar did not apply, Relators also cannot

plausibly allege numerous FCA elements, or satisfy Rule 9(b)’s stringent pleading requirements.

The Court should dismiss the Amended Complaint—this time with prejudice.




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Dated: June 13, 2022                       By: /s/ Andrew S. Tulumello

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